      Case 8:07-cr-00495-JSM-TGW Document 156 Filed 07/21/08 Page 1 of 6 PageID 395
A 0 245B (Rev 06/05)Sheet 1 - Judgmen! in a Criminal Case


                           UNITED STATES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DMSION



LW ITE D STATES OF AMERlCA                                    JUDGMENT LiV A CRIMINAL CASE
                                                              CASE NUMBER: 8:07-cr-495-l'-30TC\\'
                                                              USM NUMBER: 49847-01 8



JULIA GARClA
                                                              Defdantls Attorney: Pedro Amador, c j a

THE DEFENDANT:
X pleaded guilty to comt(s)ONE of the Second- S
7
                                                            indictmeat
A   pleaded ndo contendere to cowqs) which was accepted by the COWL
    w e f w d guilty an cotmtlsl aflw a plea of not guilty.


TITLE & SECTION                    NATURE OF OFFENSE                            OFFENSE E N D E D                COUNT

18 U.S.C.S; 371                    Conspiracy to Commit U f f m                 December 19. 2007                  One


       The defendant is sentenced as provided in pages 2 through 6 ofthisjudgment. Thesentcncc ~ n l p o wpursuant
                                                                                                           l       LOthe Sentencing

Reform Act of 19S4.

-The defendant has been found not guilty on count(s)
X Count ONE of the First Superseding Zodicanent are dismissed on the motion of the United St a t c ~
7




T IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change of
l
same, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment are M y paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
~umsmces.


                                                                                Date ofIrnposi~ionof Sentence: July 21.2008
      Case 8:07-cr-00495-JSM-TGW Document 156 Filed 07/21/08 Page 2 of 6 PageID 396
                              -
A 0 245B (Rev 06105) Sheet 2 Imprisonment (Judgrncnl in a Criminal Case)
Defendant:          N L I A GARCIA                                                                 Judgment - Page 2 01-(r
Case No.:           8:07-cr49S-T-30TG W




        After considering the advisory sentencing guidelines and all of thc factors identified in Title I8 U.S.C.
3553(i1)(1)-(7),the court finds that the sentence imposed is sufficient, but not greatcr than necessary, to comply with
the qtatutory purposes of sentencing.


         'fhc dcfcndant is hereby committed to the custody of the United Sta tcs Burcau of Prisons to be imprisoned f o r
a total term o f TWELVE (12) MONTHS and ONE (1) DAY as to Count One of the Second Superseding Indictment,




-
X Thecourtmakesthefo~owingrecommendationstotheBureauofPrisonsThedefendant shall kplacedinacorrectional
facility located in the state of Florida.


-Tkt defendant is remanded to the custody of the United Stam Marshal.
-The defendant shall a l d e r the UmtedStates M
                                  to                      d for this d i i c t .
       -  at -a.m./p.m on ,
       -as notified by the United btes Marshal
X The defendant shall surrender for s&ce of scatonce at the institution designatedby thc 3r urcau ot Pnsotls.
      -bet'- 2 p.m. on -.
      X as norifidby the United States Marshal.
          as notified by the Probation or Pmrial Services Office.
          ,




          I have executed this judgment as follows:




          Defendant delivered on                                            to
- a(                                                                ,with a certified copy of this judgment.


                                                                                   United States Marshal

                                                                      By:
                                                                                          Deputy United States Marshal
      Case 8:07-cr-00495-JSM-TGW Document 156 Filed 07/21/08 Page 3 of 6 PageID 397
A 0 2458 (Rev. 06/05) Shm 3 - Supervised Release (Judgment in a Criminal Case)
Defendant:         JULIA GARCIA                                                                  Judgment - Page 3 of
Case No.:          8:07-cr-495-T-30TGW
                                                       SUPER\7TSED RELEASE

        Upon release t'ronl i n ~ p r i s o n n ~ c ntth, e defendant shall be on supervised I-clcusc fnr a (crm o f 'I I-IRLE (3) Y E A R S as to
Count O n e of the Second Superseding Indicfrncnt.
   Case 8:07-cr-00495-JSM-TGW Document 156 Filed 07/21/08 Page 4 of 6 PageID 398
A 0 245B (Rev. 06/05) Sheet 3C - Supervised R e l m (Judgment in a Criminal Case)

Defendant:         NLIA GARCIA                                                                -
                                                                                    Judgment Page Jo i b
Case No.:          8:07-cr-495-T-30TGW
                                        SPECIAL CONDITIONS OF SUPERVTSION

         The defendant shall also comply with the following additional conditions of supervtsed release
         The defendant shall reffain from engaging in any employment related to automobile t, t lec

-
X        The defendant shatt cooperate In the collection of DNA as directed by the probation officer

-
X        The mandatory drug testing provisions pursuant to the Violent Crime Control Act are umved. However, the Court orders the
         probation oficer to conduct raadom drug testing not to exceed 104 tests per year
     Case 8:07-cr-00495-JSM-TGW Document 156 Filed 07/21/08 Page 5 of 6 PageID 399
A 0 245s (Rev 06/05) Sllcct 5 - Crimtnal Mone~aryPenalties (Judgment i n a Criminal Case)

Defendant:          JULIA GARClA                                                               Judgment - Page jof 6
Case No.:           8:07-cr-495-T-30TG W

                                            CRIMINAL hlONETARY PENALTIES

          The defendant must pay (he total criminal monerary penalties under the schedule of payments on Sheet 6.
                              Assessment                            &                           Total Restitution

          Totals:                                                                               NIA


          The delcnninarion of resritutjon IS deferred until ,-              An A~nrndedJ~riigrwntin a CI-imhalCase ( A 0 245C) will
          be entered aRer such d e t e n n a t ~ o n .
                                                                           i.estitution) to the rollowing payees in the amouur listed
          The defendant must make restitution i n c l ~ ~ d i nitl1111nuili~
                                                                g
          below.




Name o f Pavee                                   T o t a l Loss'"            Restitution Ordered




          Resritulion amount ordered putsuan t to plea agrcenlent 5
          The defendant must pay interest on a fine or restirution of more than S2?500,unless the rcstitution or line is paid in full
          before the frfeenth day aAer Ihe date of the judgment, pursuant to 18 U.S.C. 9 36 12(1). A1 of the payment options on Shcei
          6 may be subject to penalties for delinquency and default. pursuant to 18 U.S.C. B 36 Il ( g ) .
          The court determined h a t the defendant does not have the ability to pay interest and it is ordered h i t :
                    h e interest require men^ is walrvedfor the     fine         rcstihtion
                    the interest requirement for the - fine - restinxion is modified as Lbllows:


* Findings for the rotal amount of losses are required under Chapters 1 0 9 h 1 10, 1 10A. and 1 13A of Title 18 for d ~ offenses
                                                                                                                         e        comrnlt~cd
on or aftzr September 13, 1994. but belbre Apnl23. 1996
      Case 8:07-cr-00495-JSM-TGW Document 156 Filed 07/21/08 Page 6 of 6 PageID 400
                             -
A 0 24SB (Rev 06/05) Sheet 6 ScheduIe of Payments (Judgment in a Criminal Case)

Defendant:         JULIA GARCIA                                                     Judgment - Page 6of 6
Case No.:          8:07cr-495-T-30TGW


                                                   SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penal 1 I es are due as follows:

                   l,u n ~ psum payment of $ 100.00 due immediately, balance d u e

                          -not later than           ,or
                          -in accordance -C, - D, - E or -F below; or
                   Payment to begin immediateIy (may be combined with -C, -0, or -F below): or
                   Payment in equal                  (e-g.,weekly, monthly, quarterly) installments of $                      over a period
                   of         (e.g., months or years), to commence            days (e.g., 30 or 60 days-e                      date of this
                   judgment; or
                   Payment in equal             (e-g., weekly, monthly, quarterly) installments of $           over a period of
                               ,(e.g., months or years) to commence                     (e.g. 30 or 60 days) after release from
                   imprisonment to a term of supervision; or
                   Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days)
                   after release from imprisonment. The court will set the payment plan based on an assessment of the
                   defendant's ability to pay at that time, or
                   Special instructions regarding the payment of criminal monetary penal Ii cs.


Unless the court has expressly ordered otherrvlse, if this judgment mposes impmonment, payment of criminal monetary
 enalties is due during tm risonment. All Miminal monetary penalties, except those ayments made through the Federal
                              F
bureau of Pximm' Inmate ineacial Responsibility Program, are made to the clerk oft e court.        f~
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
         Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (~ncludingdefendant number), Total Amount, J O I Hand
                                                                                                             ~
Several Amount, and corresponding payee, if appropriate:


         The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court cost(s):
         The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture,which are in the possession or control of the defendant or the defendant's
nominees.
Paymems shall be applied in the following order: (1) assessment,(2) restitution principal, (3) restitution interest, (4) fine principai, ( 5 )
fine interest, (6) community restitution, (7) penafties, and (8) costs, including cost of prosecution and court costs.
